Case 1:18-cv-00572-PAB-NYW Document 59 Filed 05/10/19 USDC Colorado Page 1 of 7




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 18-cv-00572-PAB-NYW

  BRIAN EDMOND BATH,
  a/k/a Brian William Wallace

         Plaintiff,

  v.

  EQUIFAX INFORMATION SERVICES LLC,

         Defendant.


            RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE
                              AND ORDER

  Magistrate Judge Nina Y. Wang

         This matter comes before the court on two motions:

         (1)      Defendant Equifax’s Motion for Summary Judgment (“Motion for Summary

  Judgment”) [#39, filed December 17, 2018]; and

         (2)      Defendant Equifax Information Services LLC’s Motion to Enforce to Enforce the

  Settlement Agreement (“the Motion to Enforce”) [#55, filed March 19, 2019]. These motions are

  before this Magistrate Judge pursuant to the Order Referring Case dated April 4, 2018 [#13] and

  the Memoranda dated December 18, 2018 and March 19, 2019, respectively. [#40; #57].

         Plaintiff Brian Edmond Bath (“Plaintiff” or “Mr. Bath”) responded to the Motion for

  Summary Judgment [#48], but has not responded to the Motion to Enforce and the time for doing

  so has lapsed. Nevertheless, this court finds that it is appropriate to proceed. D.C.COLO.LCivR

  7.1(d). For the reasons stated herein, it is respectfully RECOMMENDED that the Motion to
Case 1:18-cv-00572-PAB-NYW Document 59 Filed 05/10/19 USDC Colorado Page 2 of 7




  Enforce be GRANTED and that all claims against Equifax be DISMISSED with prejudice, and

  that the Motion for Summary Judgment be DENIED as moot.

                                          BACKGROUND

         Mr. Bath initiated this action against Defendant Equifax Information Services LLC

  (“Defendant” or “Equifax”) in Colorado state court in Arapahoe County, Colorado, alleging Fair

  Credit Reporting Act (“FCRA”) violations and various state law claims of defamation, neglige nce,

  invasion of privacy/false light, and negligence per se. 1 [#10]. As relief, Plaintiff sought $15,000

  in monetary damages and certain injunctive relief, including:

         Grant order for deletion of following accounts:
         a) FLORIDA DEPT OF REVENUE, Account # 200055****
         b) STATE OF COLORADO CHILD, Account# 10568****
         c) COLORADO FEDERAL COURT - DENVER, Docket# 1311630
         and all of the inaccurate information from Consumer's credit reports and files and
         cease reporting the inaccurate information to any and all persons and entities to
         whom they report consumer credit information

  [Id. at 6]. On March 9, 2018, Equifax removed the case to this District. [#1]. In May 2018, this

  court entered a Scheduling Order in this action. [#21; #22]. Equifax then filed a Motion for

  Summary Judgment [#39] on December 17, 2018 and while that motion was pending, Equifax and

  Mr. Bath notified the court that they had reached a settlement agreement. [#50].

         The court then set a deadline for submission of dismissal papers which passed without

  compliance. [#51; #52]. The court set a Status Conference to address any disputes between the




  1 The Complaint also mentions the Fair Debt Collections Practices Act (“FDCPA”) and its state
  equivalent, the Colorado Fait Debt Collection Practices Act (“CFDCPA”) [#10 at 1], but there are
  no separate causes of action enumerated within the Complaint which does not include counts for
  violations of the FDCPA and CFDCPA, though allegations of violations of those statutes are
  included within others. See generally [#10].
                                                   2
Case 1:18-cv-00572-PAB-NYW Document 59 Filed 05/10/19 USDC Colorado Page 3 of 7




  Parties that may have arisen. [#52]. Mr. Bath did not appear at that Status Conference, 2 but

  Equifax informed this court that the Parties had an enforceable settlement agreement that Equifax

  would seek to enforce. [#53]. Because this court finds that the Motion to Enforce is dispositive,

  it proceeds with that analysis.

                                       LEGAL STANDARD

          A settlement agreement is a contract like any other, and so the court applies general

  principles of contract law when evaluating a settlement agreement. Weller v. HSBC Fin. Corp.,

  187 F. Supp. 3d 1263, 1266 (D. Colo. 2016) (citing United States v. McCall, 235 F.3d 1211, 1215

  (10th Cir. 2000); Anthony v. United States, 987 F.2d 670, 673 (10th Cir. 1993)). A trial court has

  the power to summarily enforce a settlement agreement entered into by the litigants while the

  litigation is pending before it. United States v. Hardage, 982 F.2d 1491, 1496 (10th Cir. 1993).

  The terms of the settlement agreement must be clear, unambiguous, and capable of enforceme nt.

  City & Cty. of Denver v. Adolph Coors Co., 813 F. Supp. 1476, 1479 (D. Colo. 1993).

          When determining the terms and enforceability of a settlement agreement, federal courts

  apply state contract law. Shoels v. Klebold, 375 F.3d 1054, 1060 (10th Cir. 2004). Under Colorado



  2  Based on Mr. Bath’s non-appearance, this court issued an Order to Show Cause as to why this
  action should not be dismissed for failure to prosecute. [#54]. Mr. Bath timely responded to that
  Order to Show Cause, indicating that he was not receiving correspondence from the court (or
  opposing counsel). [#58]. There is no indication from the court’s docket that any correspondence
  from the court was returned as undeliverable, and this court takes judicial notice that the address
  on the docket is the same as what is reflected on the Plaintiff’s Complaint. See [#10]. The court
  further notes that Mr. Bath was able to receive and respond to Defendant’s Motion for Summary
  Judgment, and this court’s Order to Show Cause. [#48; #58]. Nevertheless, this court finds that
  discharge of the Order to Show Cause is appropriate, so that the court can substantively consider
  the Motion to Enforce. Watts v. Smoke Guard, Inc., No. 14-CV-01909-WYD-NYW, 2016 WL
  26503, at *1 (D. Colo. Jan. 4, 2016) (stating that courts prefer resolution on the merits as opposed
  to procedural grounds).
                                                   3
Case 1:18-cv-00572-PAB-NYW Document 59 Filed 05/10/19 USDC Colorado Page 4 of 7




  law, a settlement agreement can be governed by and found enforceable pursuant to common law

  contract principles. Yaekle v. Andrews, 195 P.3d 1101, 1107 (Colo. 2008). Under the common

  law, contracts are formed when there are unambiguous terms, an offer, and acceptance of

  that offer; such conditions also apply to the formation of a legally enforceable settlement

  agreement. Kovac v. Farmers Ins. Exch., 401 P.3d 112, 116 (Colo. 2017).

                                            ANALYSIS

         In this instance, the court need not conduct an evidentiary hearing because there are no

  material facts in dispute.   Hardage, 982 F.2d at 1496 (requiring an evidentiary hearing when

  material facts were in dispute); City & Cty. of Denver v. Adolph Coors Co., 813 F. Supp. 1476,

  1481 (D. Colo. 1993) (“[N]o hearing is necessary where there is no dispute as to the existence of

  a settlement.” (quoting Tiernan v. Devoe, 923 F.2d 1024 (3rd Cir. 1991)).

         Here, the undisputed facts establish that the parties entered into a valid and binding

  Settlement Agreement to resolve this action (and a separate action, Bath v. Experian, Civil Action

  No. 19-cv-00106-RM-NYW). [#55-1 at 1 (Mr. Bath’s counter-offer and acceptance of terms)].

  Specifically, after negotiating the terms, Mr. Bath signed a formal written agreement on January

  31, 2019 and returned it to Equifax’s counsel with his W-9. [#55-2, #55-3 at 4]. Upon inquir y

  about the stipulation for dismissal, Mr. Bath confirmed to Equifax’s counsel that he would return

  an executed Stipulation for Dismissal upon receipt of the check. [#55-3 at 4]. Equifax counter-

  signed on February 6, 2019. [#55-3 at 11]. Defendant then tendered a check for the settlement

  amount which Mr. Bath received and negotiated. [#55-4]. Mr. Bath, however, then refused to




                                                  4
Case 1:18-cv-00572-PAB-NYW Document 59 Filed 05/10/19 USDC Colorado Page 5 of 7




  execute the Stipulation for Dismissal until and unless Equifax deleted reference to the United

  States Bankruptcy Case, and the Florida account. 3 [#55-3 at 1].

         The Settlement Agreement provides that Defendant will pay Mr. Bath a certain amount of

  monetary consideration, and contemplated that within five days of providing that monetary

  consideration to Mr. Bath, Equifax would file the necessary dismissal papers to dismiss the actions

  with prejudice with the court. [Id. at ¶¶ 1-2]. In exchange for the payment, Mr. Bath agreed to:

         release and forever discharge Defendant and its agents, affiliates, servants,
         employees, officers, directors, shareholders, attorneys, privies, insurance carriers,
         predecessors, parents, subsidiaries, successors, and assigns from any and all debts,
         controversies, claims, demands, damages, actions, causes of action, or suits of any
         kind or nature, including by contract, tort, statute, or otherwise, known or unknown,
         now existing and up to the date on which Plaintiff signs this Agreement includ ing,
         without limitation, any obligations under the Fair Credit Reporting Act.

  [Id. at ¶ 3]. The Settlement Agreement also provided, in pertinent part:

         Without limiting the generality of the foregoing, Plaintiff acknowledges that
         attached hereto as Exhibit A is his Equifax Consumer Credit Report as of January
         31, 2019. Plaintiff hereby agrees that he will not initiate any legal action against
         Equifax based on the information currently contained in Exhibit A and that Equifax
         may publish such information in the normal course of its business pursuant to the
         Fair Credit Reporting Act and any other applicable federal and/or state laws.

  [Id. at ¶ 7]. Plaintiff’s January 31, 2019 Credit Report from Equifax was attached as Exhibit A to

  the Settlement Agreement and included reference to a bankruptcy case filed in the United States

  District Court for the District of Colorado, Case No. 1311630 and account originating from

  Tallahassee, Florida associated with child support payments.       [#55-3 at 18, 21]. Both entries

  indicate that “Consumer Disputes – Reinvestigation in Process.” [Id.]. The Settlement Agreement



  3Though Equifax has made certain redactions regarding its communications with Mr. Bath, this
  court notes that Mr. Bath, through his operative Complaint, has put information regarding both the
  bankruptcy case and Florida Department of Revenue case into the public record. See [#10 at 6].
                                                  5
Case 1:18-cv-00572-PAB-NYW Document 59 Filed 05/10/19 USDC Colorado Page 6 of 7




  also unambiguously covered the 18-cv-572 and 19-cv-106 matters in the District of Colorado, and

  provided that Plaintiff consented to the stipulated dismissal of these cases with prejudice. [#55-3

  at ¶ 2].

             Based on the undisputed record before the court, this court concludes that there was a

  binding settlement between the Parties and Mr. Bath’s attempt to re-negotiate to include other

  terms does not change its binding nature. Because Mr. Bath did not file a Response, to the Motion

  to Enforce, this court has no insight into Mr. Bath’s justification for withholding approval of the

  Stipulation for Dismissal and cannot act as his advocate. Dodson v. Bd. of Cty. Comm’rs, 878 F.

  Supp. 2d 1227, 1235 (D. Colo. 2012). As a pro se litigant, Mr. Bath is bound by the same

  procedural and substantive law as a represented party. Id. He is bound by the plain terms of the

  Settlement Agreement to what is contained in Exhibit A and is not permitted to unilaterally change

  the terms, and has provided the court no justification for diverging from this general princip le.

  Accordingly, this court respectfully RECOMMENDS that the Motion to Enforce be GRANTED.

  In light of this Recommendation, this court further RECOMMENDS that the Motion for Summary

  Judgment be DENIED as moot.

                                            CONCLUSION

             Therefore, it is respectfully RECOMMENDED that:

             (1)    Defendant Equifax Information Services LLC’s Motion to Enforce the Settlement

                    Agreement [#55] be GRANTED; and




                                                   6
Case 1:18-cv-00572-PAB-NYW Document 59 Filed 05/10/19 USDC Colorado Page 7 of 7




         (2)     Defendant Equifax Information Services LLC’s Motion for Summary Judgment

                 [#39] be DENIED AS MOOT. 4



  DATED: May 10, 2019                                  BY THE COURT:



                                                       _________________________
                                                       Nina Y. Wang
                                                       United States Magistrate Judge




  4  Within fourteen days after service of a copy of the Recommendation, any party may serve and
  file written objections to the Magistrate Judge’s proposed findings and recommendations with the
  Clerk of the United States District Court for the District of Colorado. 28 U.S.C. § 636(b)(1); Fed.
  R. Civ. P. 72(b); In re Griego, 64 F.3d 580, 583 (10th Cir. 1995). A general objection that does
  not put the District Court on notice of the basis for the objection will not preserve the objection
  for de novo review. “[A] party’s objections to the magistrate judge’s report and recommendatio n
  must be both timely and specific to preserve an issue for de novo review by the district court or
  for appellate review.” United States v. 2121 E. 30th Street, 73 F.3d 1057, 1060 (10th Cir. 1996).
  Failure to make timely objections may bar de novo review by the District Judge of the Magistrate
  Judge’s proposed findings and recommendations and will result in a waiver of the right to appeal
  from a judgment of the district court based on the proposed findings and recommendations of the
  magistrate judge. See Vega v. Suthers, 195 F.3d 573, 579-80 (10th Cir. 1999) (District Court’s
  decision to review a Magistrate Judge’s recommendation de novo despite the lack of an objection
  does not preclude application of the “firm waiver rule”); Int’l Surplus Lines Ins. Co. v. Wyo. Coal
  Ref. Sys., Inc., 52 F.3d 901, 904 (10th Cir. 1995) (by failing to object to certain portions of the
  Magistrate Judge’s order, cross-claimant had waived its right to appeal those portions of the
  ruling); Ayala v. United States, 980 F.2d 1342, 1352 (10th Cir. 1992) (by their failure to file
  objections, plaintiffs waived their right to appeal the Magistrate Judge’s ruling). But see Morales-
  Fernandez v. INS, 418 F.3d 1116, 1122 (10th Cir. 2005) (firm waiver rule does not apply when
  the interests of justice require review).
                                                   7
